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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

U.S. SECURITIES AND EXCHANGE           :     CIVIL ACTION
COMMISSION,                            :     NO. 16-5176
                                       :
            Plaintiff,                 :
                                       :
     v.                                :
                                       :
LOUIS T. BUONOCORE,                    :
JEREMY R. DRAPER,                      :
FRANK J. MORELLI, III,                 :
BERARDINO “DINO” PAOLUCCI, JR.,        :
and DON L. ROSE,                       :
                                       :
            Defendants.                :

                                O R D E R

            AND NOW, this 4th day of April, 2017, upon

consideration of Plaintiff’s unopposed motion for default

judgment against Defendant Berardino “Dino” Paolucci, Jr. (ECF

No. 20), and following a hearing held on the record on April 4,

2017, it is hereby ORDERED as follows:

            1.     Plaintiff’s unopposed motion for default judgment

against Defendant Berardino “Dino” Paolucci, Jr. (ECF No. 20) is

GRANTED.1



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           “When a party against whom a judgment for affirmative
relief is sought has failed to plead or otherwise defend, and that
failure is shown by affidavit or otherwise, the clerk must enter the
party’s default.” Fed. R. Civ. P. 55(a). After the default is entered,
the party may be subject to entry of a default judgment. If “the
plaintiff’s claim is for a sum certain or a sum that can be made
certain by computation,” Fed. R. Civ. P. 55(b)(1), then the clerk may
enter a default judgment for plaintiff. In all other cases, “the party
must apply to the court for a default judgment.” Fed. R. Civ. P.
55(b)(2); see also, e.g., Eastern Elec. Corp. of N.J. v. Shoemaker
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Constr. Co., 657 F. Supp. 2d 545, 552 (E.D. Pa. 2009) (granting motion
for entry of default judgment under Rule 55(b)(2)).

           The Third Circuit has suggested that when a defendant fails
to appear entirely, “the district court or its clerk is authorized to
enter a default judgment based solely on the fact that the default has
occurred.” Anchorage Assocs. v. V.I. Bd. of Tax Review, 922 F.2d 168,
177 n.9 (3d Cir. 1990). “Under these circumstances, the district court
does not have to consider the factors.” Jimenez v. Rosenbaum-
Cunningham, Inc., No. 07-1066, 2010 WL 1303449, at *3 (E.D. Pa. Mar.
31, 2010) (observing that “[w]here the defendant has not entered an
appearance or filed any pleadings or responsive motions, frequently
the record before the court is insufficient to analyze these
factors”).

           “[A] default judgment cannot be entered on a complaint that
has not been validly served.” Wallace v. Fed. Emps., 325 Fed. App’x
96, 100 (3d Cir. 2009) (citing Petrucelli v. Bohringer and Ratzinger,
46 F.3d 1298, 1304 (3d Cir. 1995)). This is because a court cannot
enter a default judgment if it does not have personal jurisdiction
over a defendant, and “proper service of process is required to
establish personal jurisdiction.” Ramada Worldwide Inc. v. Shriji
Krupa, LLC, No. 07-2726, 2013 WL 1903295, at *3 (D.N.J. Apr. 17, 2013)
(quoting Days Inn Worldwide, Inc. v. Hartex Ventures, Inc., No. 10-
0336, 2011 WL 1211353, at *2 (D.N.J. Mar. 28, 2011)). “In ascertaining
whether service was properly effected, and accordingly, whether the
default judgment was void, courts must afford weight to objective
indicators, such as a sworn affidavit by a disinterested party.” Id.
(citing In re Graves, 33 F.3d 242, 251 n.16 (3d Cir. 1994), for the
proposition that a court “gives weight to an objective indication that
process has been served” (alteration omitted)).

           The complaint in this case, filed on September 29, 2016,
alleges that the five defendants (“Defendants”) together participated
in a fraudulent scheme to manipulate the market and price for the
stock of a company previously called Ecoland International, Inc., and
now known as Novus Robotics, Inc. Compl. ¶ 1, ECF No. 1; Mot. Consent
Judgment at ¶ 1, ECF No. 5.

           On December 7, 2016, the Deputy Clerk notified the SEC that
service of the complaint had not been made on Defendant Berardino
“Dino” Paolucci, Jr. (“Defendant Paolucci”). ECF No. 12. On December
15, 2016, the SEC filed a motion to vacate or extend time to serve
process on Defendant Paolucci, on the basis that Paolucci is a
resident of Canada whose current address as of that date remained
unknown. ECF No. 14-1. The SEC argued in this motion that it had made
“reasonable, good faith efforts to have Paolucci served in Canada
through the Hague Convention” and was continuing to attempt to serve
Paolucci at an alternate address. See id. at 2-4.


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           That same day, the Court issued an order granting the SEC’s
motion to vacate or extend time to serve process on Defendant
Paolucci. ECF No. 15. The order directed that service should be
effectuated by March 31, 2017, unless further extended by the Court.
See id. On December 23, 2016, the SEC executed and filed an affidavit
of personal service by one M. Yeates upon Defendant Paolucci at 7669
Kimbel St., Mississauga, Ontario, Canada, on December 12, 2016. ECF
No. 16. The server noted in the affidavit that the individual served
“claim[ed] Berardino is not him however showed me his driver[’]s
license and it read Dino Paolucci.” Id.

           On January 9, 2017, the SEC requested the entry of default
judgment against Defendant Paolucci for failing to answer the
complaint. ECF No. 18. This request noted that Defendant Paolucci’s
answer to the complaint should have been filed 21 days after service,
i.e., January 3, 2017. Id. ¶ 3. That same day, a default was entered
against Defendant Paolucci. On January 27, 2017, the SEC moved for
default judgment against Defendant Paolucci, who had not (and still
has not) moved to set aside the default entered by the Clerk of Court.
See ECF No. 20. On February 2, 2017, the Court issued a rule for
Defendant Paolucci to show cause why the SEC’s motion for default
judgment should not be granted. ECF No. 21. The rule was returnable in
person at hearing held on February 23, 2017. See id.

           Following the February 23, 2017, hearing, the Court entered
an order dated February 23, 2017, scheduling a hearing on the motion
for April 4, 2017. ECF No. 23. In this order, the Court directed
Plaintiff to “provide the Court with a signed affidavit from a person
with knowledge explaining in detail the method of service of the
complaint in this case upon Defendant Berardino ‘Dino’ Paolucci, Jr.,
through the Hague Convention” on or before April 3, 2017. Id. at 2.

           On March 20, 2017, in accordance with the Court’s order
dated February 23, 2017, Plaintiff filed a notice of additional
declarations, attaching three declarations detailing the method of
service of the complaint in this case upon Defendant Paolucci. ECF No.
24. These declarations were made by the following individuals: (1)
Matthew Greiner, a supervisor in the SEC’s Office of International
Affairs (ECF No. 24-1); (2) Michelle Yeates, an Enforcement Officer
with Canada’s Ministry of the Attorney General (ECF No. 24-2); and (3)
Michael Hranyczny, a process server in Ontario, Canada (ECF No. 24-3).

           Defendant Paolucci has failed entirely to appear, plead, or
otherwise defend in this case. Further, the Court finds that the SEC
has demonstrated, via sworn affidavits, that it validly served
Defendant Paolucci. See Ramada Worldwide Inc., 2013 WL 1903295 at *3
(“In ascertaining whether service was properly effected . . . courts
must afford weight to objective indicators, such as a sworn affidavit
by a disinterested party.”).


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          2.    DEFAULT JUDGMENT is entered in favor of Plaintiff

and against Defendant Berardino “Dino” Paolucci, Jr.2

          3.    Defendant Berardino “Dino” Paolucci, Jr. is

permanently restrained and enjoined from violating, directly or

indirectly, Section 10(b) of the Securities Exchange Act of

1934, 15 U.S.C. § 78j(b) and Rule 10b-5 promulgated thereunder,

17 C.F.R. § 240.10b-5, by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any

national securities exchange, in connection with the purchase or

sale of any security:

                (a)   to employ any device, scheme, or artifice to

                      defraud;

                (b)   to make any untrue statement of a material

                      fact or to omit to state a material fact

                      necessary in order to make the statements

                      made, in light of the circumstances under

                      which they were made, not misleading; or

                (c)   to engage in any act, practice, or course of

                      business which operates or would operate as

                      a fraud or deceit upon any person.

          4.    Defendant Berardino “Dino” Paolucci, Jr. is

permanently restrained and enjoined from violating Section 17(a)
2
           Though this judgment awards Plaintiff all injunctive relief
sought in the complaint, the Court reserves for later determination
the amount of monetary judgment against Defendant Berardino “Dino”
Paolucci, Jr.

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of the Securities Act of 1933, 15 U.S.C. § 77q(a), in the offer

or sale of any security by the use of any means or instruments

of transportation or communication in interstate commerce or by

the use of the mails, directly or indirectly:

               (a)   to employ any device, scheme, or artifice to

                     defraud;

               (b)   to obtain money or property by means of any

                     untrue statement of a material fact or any

                     omission of a material fact necessary in

                     order to make the statements made, in light

                     of the circumstances under which they were

                     made, not misleading; or

               (c)   to engage in any transaction, practice, or

                     course of business which operates or would

                     operate as a fraud or deceit upon the

                     purchaser.

         5.    Defendant Berardino “Dino” Paolucci, Jr. is

permanently restrained and enjoined from violating Section 13(d)

of the Exchange Act, 15 U.S.C. § 78m(d) and Rules 13d-1 and 13d-

2 promulgated thereunder, 17 C.F.R. §§ 240.13d-1 and 13d-2, by,

after acquiring directly or indirectly the beneficial ownership

of any equity security of a class which is registered pursuant

to Section 12 of the Exchange Act, 15 U.S.C. § 78l, and becoming

directly or indirectly the beneficial owner of more than 5 per

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centum of such class, failing to file with the Securities and

Exchange Commission, within ten days after such acquisition, a

statement containing the information required by Exchange Act

Schedule 13D, 17 C.F.R. § 240.13d-101.

         6.    Defendant Berardino “Dino” Paolucci, Jr. is

permanently barred from participating in an offering of penny

stock, including engaging in activities with a broker, dealer,

or issuer for purposes of issuing, trading, or inducing or

attempting to induce the purchase or sale of any penny stock. A

penny stock is any equity security that has a price of less than

five dollars, except as provided in Rule 3a51-1 under the

Exchange Act, 17 C.F.R. § 240.3a51-1.



         AND IT IS SO ORDERED.




                                       /s/ Eduardo C. Robreno
                                       EDUARDO C. ROBRENO, J.




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